Case 8:14-cv-01954-JLS-JCG Document 200 Filed 10/11/16 Page 1 of 14 Page ID
                                 #:11401



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 9                            UNITED STATES DISTRICT COURT
10                           CENTRAL DISTRICT OF CALIFORNIA
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     ROSEVILLE FULLERTON BURTON                CASE NO. 8:14-cv-1954-JLS-JCGx
12
     HOLDINGS, LLC
13                                             ORDER GRANTING PLAINTIFF’S
14              Plaintiff,                     MOTION FOR SUMMARY
                                               JUDGMENT (Doc. 164)
15        vs.
16
17 SOCAL WHEELS, INC.; MICHAEL
     YABLONKA; CHRISTOPHE GRANGER;
18 JASON SIU; and DONNY MAK
19
                Defendants.
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Case 8:14-cv-01954-JLS-JCG Document 200 Filed 10/11/16 Page 2 of 14 Page ID
                                 #:11402



 1      I.       INTRODUCTION
 2            Before the Court is Plaintiff Roseville Fullerton Burton Holdings, LLC’s Motion for
 3 Summary Judgment as to Defendant SoCal Wheels, Inc.’s counterclaims. (Mot., Doc.
 4 164.) SoCal Wheels filed an opposition and Roseville replied. (Opp., Doc. 185; Reply,
 5 Doc. 191.) The Court finds this matter appropriate for decision without oral argument.
 6 Fed. R. Civ. P. 78; C.D. Cal. R. 7-15. Accordingly, the hearing set for October 14, 2016,
 7 at 2:30 p.m., is VACATED. Having read and considered the parties’ briefs, the Court
 8 GRANTS Roseville’s Motion.
 9
10      II.      BACKGROUND
11            The factual background of this dispute was set forth in this Court’s earlier order
12 granting summary judgment in favor of Defendants and is incorporated into this Order by
13 reference. (See Order, Doc. 195.) In addition to that background, the Court adds the
14 following undisputed facts:
15            Quality Auto Care Centers, the first entity to use the “Discounted Wheel
16 Warehouse” mark, was originally a brick and mortar store that Naeem Niamat started in
17 approximately 1997 in Roseville, CA. (SoCal SGD ¶ 13, Doc. 185-1.) USA Wheel and
18 Tire Outlet #2, which acquired the “Discounted Wheel Warehouse” mark from Quality
19 Auto Care, consistently exceeded $7 million in annual gross revenue from 2005 to 2013.
20 (Id. ¶ 16.) Christophe Granger, the President and owner of SoCal Wheels, was aware of
21 Discounted Wheel Warehouse at least as early as 2008 and believed that Discounted
22 Wheel Warehouse was copying the Wheel Warehouse name. (Id. ¶¶ 3, 8.) However, after
23 purchasing Wheel Warehouse, SoCal Wheels never filed a federal trademark application to
24 register the “Wheel Warehouse” trademark, never sent a cease and desist letter to
25 Discounted Wheel Warehouse, and never filed an objection to Discounted Wheel
26 Warehouse’s trademark registration. (Id. ¶¶ 9–10.) SoCal Wheels also did not file suit
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Case 8:14-cv-01954-JLS-JCG Document 200 Filed 10/11/16 Page 3 of 14 Page ID
                                 #:11403



 1 against Roseville to assert its claims for trademark infringement or any other harm prior to
 2 asserting its counterclaims in the instant action. (Id. ¶ 11.)
 3         The instant action began on December 9, 2014, when Roseville filed a complaint
 4 against SoCal Wheels asserting, among other things, claims of trademark infringement and
 5 unfair competition. (Compl., Doc. 1.) On February 3, 2015, SoCal Wheels filed its
 6 counterclaims, (Counterclaim, Doc. 14), which were later amended to assert the following
 7 four claims: (1) trademark infringement under Section 43(a) of the Lanham Act; (2)
 8 cancellation of trademark under 15 U.S.C. §§ 1064(3) and 1064(5); (3) violation of Section
 9 17200 of the California Business and Professions Code (“Unfair Competition Law”); and
10 (4) declaratory relief, (Amended Counterclaim ¶¶ 31–71, Doc. 34.) Roseville now moves
11 for summary judgment on all of SoCal Wheels’ counterclaims. (Mot. at 2.)
12
13      III.   LEGAL STANDARD
14         In deciding a motion for summary judgment, the Court must view the evidence in
15 the light most favorable to the non-moving party and draw all justifiable inferences in that
16 party’s favor. Anderson v. Liberty Lobby, Inc., 477 U.S. 242, 255 (1986). Summary
17 judgment is proper “if the [moving party] shows that there is no genuine dispute as to any
18 material fact and the [moving party] is entitled to judgment as a matter of law.” Fed. R.
19 Civ. P. 56. A factual dispute is “genuine” when there is sufficient evidence such that a
20 reasonable trier of fact could resolve the issue in the non-movant’s favor, and a fact is
21 “material” when it might affect the outcome of the suit under the governing law.
22 Anderson, 477 U.S. at 248. However, “credibility determinations, the weighing of
23 evidence, and the drawing of legitimate inferences from the facts are jury functions, not
24 those of a judge.” Acosta v. City of Costa Mesa, 718 F.3d 800, 828 (9th Cir. 2013)
25 (quoting Reeves v. Sanderson Plumbing Prods., Inc., 530 U.S. 133, 150 (2000) (internal
26 quotation marks omitted)). The role of the Court is not to resolve disputes of fact but to
27 assess whether there are any factual disputes to be tried.
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Case 8:14-cv-01954-JLS-JCG Document 200 Filed 10/11/16 Page 4 of 14 Page ID
                                 #:11404



 1            The moving party bears the initial burden of demonstrating the absence of a genuine
 2 dispute of fact. Celotex Corp. v. Catrett, 477 U.S. 317, 323 (1986). “Once the moving
 3 party carries its initial burden, the adverse party ‘may not rest upon the mere allegations or
 4 denials of the adverse party’s pleading,’ but must provide affidavits or other sources of
 5 evidence that ‘set forth specific facts showing that there is a genuine issue for trial.’”
 6 Devereaux v. Abbey, 263 F.3d 1070, 1076 (9th Cir. 2001) (quoting Fed. R. Civ. P. 56(e)).
 7
 8      IV.        DISCUSSION
 9            A.     Trademark Infringement
10            Section 43(a) of the Lanham Act prohibits the use in commerce of “any word, term,
11 name, symbol, or device, or any combination thereof, or any false designation of origin,
12 false or misleading description of fact, or false or misleading representation of fact” which
13 is likely to cause confusion, cause mistake, or deceive another. 15 U.S.C. § 1125(a). To
14 prevail on a claim of trademark infringement under Section 43(a), a party must prove: “(1)
15 it has a valid, protectable trademark, and (2) [the defendant’s] use of the mark is likely to
16 cause confusion.” Southern Cal. Darts Ass’n v. Zaffina, 762 F.3d 921, 929 (9th Cir. 2014)
17 (quoting Applied Info. Sciences Corp. v. eBAY, Inc., 511 F.3d 966, 969 (9th Cir. 2007)
18 (internal quotation marks omitted). However, Roseville argues as a threshold matter that
19 SoCal Wheels’ trademark infringement counterclaim is barred by laches. (See Mot. at 2.)
20            “Laches is an equitable time limitation on a party’s right to bring suit” and is a valid
21 defense to Lanham Act claims. Jarrow Formulas, Inc. v. Nutrition Now, Inc., 304 F.3d
22 829, 835 (9th Cir. 2002) (internal quotation marks and citation omitted). The party
23 asserting laches must show that it suffered prejudice as a result of the other party’s
24 unreasonable delay in filing suit. Id. “While laches and the statute of limitations are
25 distinct defenses, a laches determination is made with reference to the limitations period
26 for the analogous action at law. If the [party] filed suit within the analogous limitations
27 period, the strong presumption is that laches is inapplicable.” Id. However, if suit is filed
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Case 8:14-cv-01954-JLS-JCG Document 200 Filed 10/11/16 Page 5 of 14 Page ID
                                 #:11405



 1 outside of the period, it is presumed that laches is applicable. Id. at 836, 838. The
 2 “presumption of laches is triggered if any part of the claimed wrongful conduct occurred
 3 beyond the limitations period.” Id. at 837. The limitations period runs from the time the
 4 party asserting the claim knew or should have known about its claim. Id. at 838. When a
 5 federal statute lacks a specific statute of limitations, it is generally presumed that
 6 “Congress intended to ‘borrow’ the limitations period from the most closely analogous
 7 action under state law.” Id. at 836. “The Lanham Act contains no explicit statute of
 8 limitations.” Id. In California, courts in the Ninth Circuit have split between applying a
 9 three-year period or a four-year period. See, e.g., Karl Storz Endoscopy Am., Inc. v.
10 Surgical Techs., Inc., 285 F.3d 848, 857 (9th Cir. 2002) (applying three-year period from
11 Section 338(d) of the Code of Civil Procedure); Jarrow, 304 F.3d at 838 (applying three-
12 year period from Section 338(d)); Internet Specialties West, Inc. v. Milon-DiGiorgio
13 Enters., Inc., 559 F.3d 985, 990 n.2 (9th Cir. 2009) (applying four-year period “from
14 California trademark infringement law”); Fitbug Ltd. v. Fitbit, Inc., 78 F. Supp. 3d 1180,
15 1189–90 (N.D. Cal. 2015) (noting that Ninth Circuit and district courts in California have
16 “almost universally” assumed a four-year period from Sections 337 or 343 of the Code of
17 Civil Procedure, but expressing some concern over the assumption).
18          The Court concludes that under either a three-year or a four-year approach, the
19 limitations period has long since run. The mark “Discounted Wheel Warehouse” was used
20 as early as 2003 and was registered on September 9, 2008. (SGI ¶¶ 83, 153, Doc. 177-1.)
21 “Registration of a mark on the principal register . . . shall be constructive notice of the
22 registrant’s claim of ownership thereof.” 15 U.S.C. § 1072; see also E-Systems, Inc. v.
23 Monitek, Inc., 720 F.2d 604, 607 (9th Cir. 1983). Yet no claim of infringement was made
24 until 2015. Given the similarities in trade names, the proximity in location of the two
25 businesses, the fact that both sell wheels and tires, and the formal registration of the
26 “Discounted Wheel Warehouse” trademark, the Court concludes that SoCal Wheels and
27 Wheel Warehouse should have known of Discounted Wheel Warehouse’s potential
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Case 8:14-cv-01954-JLS-JCG Document 200 Filed 10/11/16 Page 6 of 14 Page ID
                                 #:11406



 1 infringing use back in 2008. Laches is therefore presumed to apply, and the Court now
 2 analyzes whether (1) SoCal Wheel’s delay in asserting its infringement claim was
 3 unreasonable, and (2) Roseville would suffer prejudice from the delay if the suit were to
 4 continue. See Jarrow, 304 F.3d at 838.
 5                 a.        Unreasonable Delay
 6          In determining whether the delay was unreasonable, a court must balance the
 7 following six factors: (1) the strength and value of the trademark rights asserted; (2) the
 8 plaintiff's diligence in enforcing mark; (3) the harm to the senior user if relief is denied; (4)
 9 whether there is good faith ignorance by the junior user; (5) the competition between
10 senior and junior users; and (6) the extent of harm suffered by the junior user because of
11 the senior user's delay. Tillamook Country Smoker, Inc. v. Tillamook Cty. Creamery Ass’n,
12 465 F.3d 1102, 1108 (9th Cir. 2006).
13                      i.      First Factor: Strength and Value of the Trademark Rights Asserted
14          The first factor weighs in favor of Roseville. “The strength of a mark is determined
15 by its placement on a ‘continuum of marks from “generic,” afforded no protection; through
16 “descriptive” or “suggestive,” given moderate protection; to “arbitrary” or “fanciful”
17 awarded maximum protection.’” E. & J. Gallo Winery v. Gallo Cattle Co., 967 F.2d 1280,
18 1291 (9th Cir. 1992) (citation omitted). “A strong mark is inherently distinctive, for
19 example, an arbitrary or fanciful mark.” AMF Inc. v. Sleekcraft Boats, 599 F.2d 341, 349
20 (9th Cir. 1979), abrogated on other grounds by Mattel, Inc. v. Walking Mountain Prods.,
21 353 F.3d 792 (9th Cir. 2003). “Descriptive or suggestive marks are relatively weak.”
22 Grupo Gigante SA De CV v. Dallo & Co., Inc., 391 F.3d 1088, 1102 (9th Cir. 2004). The
23 former specifically describes a “characteristic or ingredient of an article or service,” while
24 the latter “suggests, rather than describes, an ingredient, quality or characteristic.”
25 Nutri/System, Inc. v. Con-Stan Indus., Inc., 809 F.2d 601, 605 (9th Cir. 1987). Here,
26 SoCal Wheels’ mark is descriptive or, at most, suggestive. The term “Wheel Warehouse”
27 describes or suggests a large selection of wheels. There is nothing arbitrary or fanciful
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Case 8:14-cv-01954-JLS-JCG Document 200 Filed 10/11/16 Page 7 of 14 Page ID
                                 #:11407



 1 about a wheel and tire business doing business under such a mark. SoCal Wheels’ mark is
 2 therefore relatively weak, and the first factor weighs in favor of Roseville.
 3                    ii.    Second Factor: Diligence in Enforcing Mark
 4         The second factor also weighs in favor of Roseville. As mentioned above, SoCal
 5 Wheels and Wheel Warehouse had constructive notice of the “Discounted Wheel
 6 Warehouse” trademark since at least 2008. Despite this knowledge and the similarities
 7 between Roseville’s and SoCal Wheels’ trade names and lines of business, there is no
 8 indication that SoCal Wheels or Wheel Warehouse tried to enforce the “Wheel
 9 Warehouse” trademark until SoCal Wheels was sued by Roseville.
10         SoCal Wheels seeks to explain the delay by raising the doctrine of “progressive
11 encroachment.” (Opp. at 12.) “Under this doctrine, the trademark owner need not sue in
12 the face of de minimis infringement by the junior user.” Tillamook, 465 F.3d at 1110.
13 Instead, the owner may wait until the junior user moves into direct competition, selling the
14 same product through the same channels, and causing actual market confusion. Id.
15 “Common methods of encroachment are the junior user’s expansion of its business into
16 different regions or into different markets.” Id. However, “[a] junior user’s growth of its
17 existing business and the concomitant increase in its use of the mark do not constitute
18 progressive encroachment.” Id. SoCal Wheels argues that Roseville moved into direct
19 competition gradually from 2011 to 2015. (Opp. at 14–15.) In 2011, Wheel Warehouse
20 carried thirty-six unique brands of wheels that were not carried by Discounted Wheel
21 Warehouse. (Id. at 14.) By 2015, that number had shrunk to nine. (Id.) SoCal Wheels
22 also asserts that Granger did not realize that Discounted Wheel Warehouse was a retail
23 store until 2011 when SoCal Wheels purchased Wheel Warehouse. (Id. at 14–15.)
24         This argument is no justification for delay when the “junior user” is a wheel and tire
25 business that was consistently exceeding $7 million in annual gross revenue. (SoCal SGD
26 ¶ 16.) Moreover, the “Discounted Wheel Warehouse” mark has been in use since at least
27 2003 and has been in use in Orange County since early 2007. (SGI ¶¶ 83, 99, 258.) The
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Case 8:14-cv-01954-JLS-JCG Document 200 Filed 10/11/16 Page 8 of 14 Page ID
                                 #:11408



 1 distinction on which SoCal Wheels relies is that at some point between 2011 and 2015,
 2 Discounted Wheel Warehouse began selling more of SoCal Wheels’ “exclusive” brands.
 3 That distinction is indicative of growth in Roseville’s business rather than expansion into a
 4 different region or different market. Roseville has gone from selling wheels and tires to
 5 selling a larger selection of arguably higher quality wheels and tires. This is unlike the
 6 situation in Tillamook, where the senior user sold cheese and butter products and the junior
 7 user sold jerky and smoked beef. 465 F.3d at 1105–06.
 8                    iii.   Third Factor: Harm to the SoCal Wheels if Relief Is Denied
 9         The third factor weighs in favor of SoCal Wheels. As described above, the two
10 marks at issue in this case are similar in sight, sound, and meaning. Both parties sell
11 wheels and tires online and through a physical retail location in Orange County. There is a
12 likelihood of confusion that will diminish the value of SoCal Wheels’ trademark if relief is
13 denied.
14                    iv.    Fourth Factor: Good Faith Ignorance by Roseville
15         The fourth factor weighs in favor of Roseville. The “Discounted Wheel
16 Warehouse” mark has been in use since at least 2003. (SGI ¶ 83.) At that time, the mark
17 belonged to Quality Auto Care which was located in Roseville, CA. (Id. ¶¶ 83–84.) The
18 Discounted Wheel Warehouse business did not relocate to Orange County until early 2007.
19 (Id. ¶¶ 99, 258.) The undisputed facts do not show that the users of the “Discounted
20 Wheel Warehouse” mark knew of Wheel Warehouse earlier than 2007. Moreover, SoCal
21 Wheels fails to point to evidence that raises a genuine dispute as to whether Niamat and
22 Quality Auto Care knew of Wheel Warehouse when they first used the “Discounted Wheel
23 Warehouse” mark. All that SoCal Wheels points to is deposition testimony where Niamat
24 defers to his interviewer’s suggestion that Wheel Warehouse was in business since the
25 1980s or 1990s. (Niamat Depo. 36:4–11, Doc. 159-285.) Niamat and his businesses
26 cannot have acted in bad faith if they chose their mark while unaware of Wheel
27 Warehouse’s existence.
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Case 8:14-cv-01954-JLS-JCG Document 200 Filed 10/11/16 Page 9 of 14 Page ID
                                 #:11409



 1         For the same reasons, SoCal Wheels’ deliberate infringement argument fails here.
 2 (See Opp. at 10–12.) It is true that willful or deliberate infringement by a defendant
 3 precludes the application of laches as a defense. See Danjaq LLC v. Sony Corp., 263 F.3d
 4 942, 956–57 (9th Cir. 2001). However, infringement cannot have been willful or
 5 deliberate where the defendant was unaware of a mark’s existence.
 6                    v.     Fifth Factor: Competition Between Senior and Junior Users
 7         The fifth factor weighs in favor of SoCal Wheels. Both companies sell wheels and
 8 tires online and through a physical location in Orange County and have been doing so for
 9 several years. Given the high level of competition between the parties, this factor weighs
10 against the application of laches. See Grupo Gigante, 391 F.3d at 1105.
11                    vi.    Sixth Factor: Extent of Harm Suffered by Roseville Because of
12                           SoCal Wheels’ Delay
13         Finally, the sixth factor weighs in favor of Roseville. As mentioned above, courts
14 in the Ninth Circuit have applied either a three-year or four-year limitations period to an
15 assertion of laches against Lanham Act claims. Here, it took SoCal Wheels approximately
16 seven years after learning of “Discounted Wheel Warehouse” to raise any claims of
17 trademark infringement. Moreover, SoCal Wheels and Wheel Warehouse never sought to
18 affirmatively assert any claims of infringement; the instant claims were raised as
19 counterclaims to a suit brought against SoCal Wheels for trademark infringement. The
20 passage of time works to prejudice Roseville by eroding available evidence and lulling the
21 company into investing time, money, and effort into building its mark’s value in reliance
22 on SoCal Wheels’ inaction.
23         In light of the presumption that laches applies, and considering four of the six
24 factors weigh in Roseville’s favor, the Court concludes that SoCal Wheels’ delay was
25 unreasonable.
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Case 8:14-cv-01954-JLS-JCG Document 200 Filed 10/11/16 Page 10 of 14 Page ID
                                 #:11410



  1                 b.     Prejudice
  2          Courts have recognized two chief forms of prejudice in the laches context:
  3 evidentiary prejudice and expectations-based prejudice. Danjaq LLC, 263 F.3d at 955.
  4 “Evidentiary prejudice includes such things as lost, stale, or degraded evidence, or
  5 witnesses whose memories have faded or who have died.” Id. Expectations-based
  6 prejudice arises when a defendant “took actions or suffered consequences that it would not
  7 have had the plaintiff promptly brought suit.” Id. Here, Roseville asserts only
  8 expectations-based prejudice. (See Mem. at 15–16.)
  9          Roseville asserts that it expended “considerable time, money and effort, as well as
 10 devoted substantial resources to advertise and promote the ‘Discounted Wheel Warehouse’
 11 mark and the services offered under the mark.” (Mem. at 15.) Roseville claims that “[i]f
 12 SoCal and/or its predecessor had filed suit sooner, Roseville Fullerton could have invested
 13 its resources in shaping an alternative identity for its business in the minds of the public.”
 14 (Id. at 16.) The “Discounted Wheel Warehouse” mark was published on the principal
 15 register on June 24, 2008, about two months before the mark became registered on
 16 September 9, 2008. (SGI ¶ 153.) “Registration of a mark on the principal register . . .
 17 shall be constructive notice of the registrant’s claim of ownership thereof.” 15 U.S.C. §
 18 1072; see also E-Systems, 720 F.2d at 607. Had Wheel Warehouse sued or otherwise tried
 19 to assert its trademark rights back in 2008, then Roseville could have litigated this issue
 20 before it invested several years’ worth of time, money, and effort in shaping its business
 21 around its trademark, or it could have terminated the registration process altogether and
 22 gone a different route with its business. Instead, Wheel Warehouse and SoCal Wheels did
 23 nothing, and Roseville acted in reliance on that inaction to its prejudice.
 24          In light of the presumption that laches applies, and the Court’s determination that
 25 Roseville has suffered prejudice from SoCal Wheels’ unreasonable delay in bringing suit,
 26 the Court concludes that laches bars SoCal Wheels’ claim of trademark infringement under
 27 the Lanham Act. Therefore, the Court GRANTS Roseville’s Motion as to this claim.
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Case 8:14-cv-01954-JLS-JCG Document 200 Filed 10/11/16 Page 11 of 14 Page ID
                                 #:11411



  1         B.     Cancellation of Trademark
  2         Roseville asserts laches for SoCal Wheels’ cancellation claim as well. (See Mot. at
  3 2.) However, a petition to cancel a trademark registration may be filed “[a]t any time if the
  4 registered mark . . . was obtained fraudulently.” 15 U.S.C. § 1064(3). SoCal Wheels’
  5 cancellation claim is based on assertions that Roseville made fraudulent statements to the
  6 U.S. Patent and Trademark Office (“USPTO”) to register its trademark. (See Opp. at 23–
  7 25.) Therefore, the Court concludes that laches does not bar SoCal Wheels’ cancellation
  8 of trademark counterclaim.
  9         A party may seek cancellation of a trademark by proving “a false representation
 10 regarding a material fact, the registrant’s knowledge or belief that the representation is
 11 false, the intent to induce reliance upon the misrepresentation and reasonable reliance
 12 thereon, and damages proximately resulting from the reliance.” Robi v. Five Platters, Inc.,
 13 918 F.2d 1439, 1444 (9th Cir. 1990) (citation omitted). The burden of proving that a party
 14 fraudulently procured a trademark registration is heavy, id., and must be shown by “clear
 15 and convincing evidence,” Spin Master, Ltd. v. Zobmondo Entm’t, LLC, 778 F. Supp. 2d
 16 1052, 1061 (C.D. Cal. 2011) (citing In re Bose Corp., 580 F.3d 1240, 1243 (Fed. Cir.
 17 2009)). The “falsity and intent prongs are separate, ‘so absent the requisite intent to
 18 mislead the USPTO, even a material misrepresentation would not qualify as fraud under
 19 the Lanham Act warranting cancellation.’” Id. (quoting In re Bose, 580 F.3d at 1243).
 20 “[D]eception must be willful to constitute fraud,” and “[m]ere negligence is not sufficient
 21 to infer fraud or dishonesty.” Id. (quoting In re Bose, 580 F.3d at 1243–44) (internal
 22 quotation marks omitted). “While intent to deceive may be inferred from circumstantial
 23 evidence, such evidence must still be clear and convincing, and inferences drawn from
 24 lesser evidence cannot satisfy the deceptive intent requirement.” Id. (quoting In re Bose,
 25 580 F.3d at 1245) (internal quotation marks omitted).
 26         In support of its cancellation claim, SoCal Wheels points to the following
 27 undisputed facts: (1) the statement made by USA Wheel and Tire Outlet #2’s legal counsel
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Case 8:14-cv-01954-JLS-JCG Document 200 Filed 10/11/16 Page 12 of 14 Page ID
                                 #:11412



  1 to the USPTO on July 12, 2006, that “to the best of his/her knowledge and belief no other
  2 person, firm, corporation, or association has the right to use the mark in commerce, either
  3 in the identical form thereof or in such near resemblance thereto . . .,” (SGI ¶ 131); and (2)
  4 statements made to the USPTO that USA Wheel and Tire Outlet #2 expended “over
  5 $250,000 of their marketing budget to obtain a ‘first-result’ position” in Google, (SGI ¶
  6 135.) However, even viewing all evidence in SoCal Wheels’ favor, there is insufficient
  7 evidence from which a jury could reasonably conclude that Niamat and USA Wheel and
  8 Tire Outlet #2 acted with fraudulent intent. Even if Niamat and USA Wheel and Tire
  9 Outlet #2 were aware of Wheel Warehouse’s existence in 2006, this does not make their
 10 legal counsel’s statement to the USPTO intentionally fraudulent or even false. See
 11 Quiksilver, Inc. v. Kymsta Corp., 466 F.3d 749, 755 (9th Cir. 2006) (“In the face of [the
 12 trademark registrant]’s attestation, mere knowledge of the existence of [a similar] mark
 13 does not constitute fraud.”); Neurovision Med. Prods. Inc. v. NuVasive, Inc., 494 Fed.
 14 Appx. 749, 751 (9th Cir. 2012) (“[A]n applicant must disclose only those prior users that
 15 the applicant believes have acquired superior rights to the mark in the classification for
 16 which registration is sought.”). Other than evidence that Niamat might have been aware of
 17 Wheel Warehouse prior to 2006, SoCal Wheels offers nothing to support fraudulent intent
 18 with respect to the first statement.
 19         As to the second statement, SoCal Wheels argues that the $250,000 “marketing
 20 budget” was actually the salaries of Niamat and Dean Riley and not independent marketing
 21 expenditures. (See Opp. at 25.) Even assuming this is true, SoCal Wheels has failed to
 22 point to evidence that the USPTO relied on this representation in granting trademark
 23 registration. The statement about the $250,000 marketing budget was made on April 24,
 24 2007. (SGI ¶ 135.) The USPTO then denied USA Wheel and Tire Outlet #2’s trademark
 25 registration application on June 11, 2007. (Id. ¶ 144.) It took additional effort by Niamat
 26 and USA Wheel and Tire Outlet #2 before the USPTO finally granted registration in 2008.
 27 (See id. ¶¶ 145–50, 152–53.) While USA Wheel and Tire Outlet #2 again represented that
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Case 8:14-cv-01954-JLS-JCG Document 200 Filed 10/11/16 Page 13 of 14 Page ID
                                 #:11413



  1 it spent “over a quarter-million dollars” in advertising and marketing, it also made other
  2 representations to the USPTO in support of its application. (Id. ¶¶ 145–47.) SoCal
  3 Wheels has failed to point to any evidence indicating that it was the marketing
  4 expenditures on which the USPTO relied in granting registration rather than these other
  5 factors. Moreover, an inference that the USPTO did so is not reasonable in light of its
  6 previous rejection of USA Wheel and Tire Outlet #2’s application with the same
  7 information.
  8         Accordingly, the Court concludes that SoCal Wheels’ cancellation of trademark
  9 claim fails as a matter of law and GRANTS Roseville’s Motion as to that claim.
 10
 11         C.      Unfair Competition Law
 12         Section 17200 of the California Business and Professions Code prohibits unfair
 13 competition, including any “unlawful, unfair, or fraudulent business act or practice.” Cal.
 14 Bus. & Prof. Code § 17200. An unlawful business activity includes anything that can
 15 properly be called a business practice and that at the same time is forbidden by law. Blank
 16 v. Kirwan, 39 Cal. 3d 311, 329 (1985) (internal quotation marks and citation omitted).
 17 Here, SoCal Wheels’ unfair competition claim arises out of the same conduct that
 18 motivates its claim of trademark infringement, and SoCal Wheels does not indicate
 19 otherwise in its Opposition. In light of the Court’s decision granting Roseville’s Motion
 20 on SoCal Wheels’ trademark infringement claim, the Court GRANTS Roseville’s Motion
 21 as to SoCal Wheels’ unfair competition claim.
 22
 23         D.      Declaratory Relief
 24         The Declaratory Judgment Act provides that, in a case of actual controversy within
 25 its jurisdiction, “any court of the United States, upon the filing of an appropriate pleading,
 26 may declare the rights and other legal relations of any interested party seeking such
 27 declaration.” 28 U.S.C. § 2201. Like with SoCal Wheels’ unfair competition claim, SoCal
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Case 8:14-cv-01954-JLS-JCG Document 200 Filed 10/11/16 Page 14 of 14 Page ID
                                 #:11414



  1 Wheels’ claim for declaratory relief arises wholly out of its claim for trademark
  2 infringement. Therefore, the Court GRANTS Roseville’s Motion as to this claim.
  3
  4     V.      CONCLUSION
  5          For the reasons stated above, the Court GRANTS Roseville’s Motion for Summary
  6 Judgment.
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 10
 11 DATED: October 11, 2016                 _________________________________
                                                   JOSEPHINE L. STATON
 12
                                              UNITED STATES DISTRICT JUDGE
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